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UNITED STATES DISTRICT COURT FOR THE ' AU { & “ue
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION U, §. DISTRICT COURT
CASE NO. 3:06CR84- W. DIST. OF N. C.
FILED UNDER SEAL
) SUPERSEDING
UNITED STATES OF AMERICA ) BILL OF INFORMATION
)
) Violations:
v. ) 18 U.S.C. § 922(g)
) 18 U.S.C. § 1951
HAISSAM NASHAR, a/k/a “Sam Nashar”’ )
)

 

THE UNITED STATES ATTORNEY CHARGES:
INTRODUCTION

1. On or about January 29, 2002, HAISSAM NASHAR, a/k/a “Sam” (“NASHAR”)
sold his interest in the One Quick Stop convenience store (“One Quick Stop”),
located at 2201 Freedom Drive, Charlotte, North Carolina, to Diri, LLC, which made
monthly payments to NASHAR. NASHAR continued to maintain a financial
interest in the financial success of One Quick Stop because the amount of said
payments that Diri, LLC, made to NASHAR fluctuated with the amount of monthly
revenues generated by the sale of consumer goods at One Quick Stop.

2. Midtown Food Mart #2 is a convenience store located in a building at 1552 Berryhill
Road, Charlotte, North Carolina (“Midtown-Berryhill”), in close proximity to One
Quick Stop. Midtown-Berryhill is owned by a partnership of individuals (“Midtown
Owners”), which partnership is authorized to do business in the State of North
Carolina, and is engaged in interstate and foreign commerce and in an industry that
affects interstate and foreign commerce. Midtown-Berryhill competed and continues
to compete with One Stop for revenue generated by the sale of consumer goods. The
Midtown Owners also owned and operated two other convenience stores located in
Charlotte, North Carolina.

 

3. After Midtown-Berryhill began selling consumer goods and competing with One
Quick Stop, One Quick Stop’s receipt of revenues from the sale of consumer goods
decreased significantly, resulting in a reduction of monthly payments due and owing
from Diri, LLC, to NASHAR.

4, As a result of declining revenues at the One Quick Stop, George Diri, a/k/a “G,” a

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10.

relative of the owners of Diri, LLC, Rico Aery (“Aery’), and others (collectively the
“offenders”) began to engage in violent and intimidating tactics against the Midtown
Owners, for the purpose of obtaining from the Midtown Owners certain assets and
the right to exercise exclusive control over such assets, including but not limited to
real property, equipment, inventory of consumer goods, and the Midtown Owners’
right to pursue a lawful business at the Berryhill location, that is, operation of a
convenience store that generates revenue from the sale of consumer goods.

On or about December 4, 2002, George Diri told one of the Midtown Owners that
Midtown-Berryhill would soon be “closed for good.”

On or about December 18, 2002, Aery contracted with Patrick Artis (“Artis”) to burn
down Midtown-Berryhill. Artis and others broke Midtown-Berryhill’s front
windows and then threw “Molotov cocktails” - that is, containers filled with a
flammable liquid - into Midtown-Berryhill, which caused Midtown-Berryhill to burn
to the ground and, for approximately one year, precluded the Midtown Owners from
operating their lawful business of selling consumer goods.

Revenues at One Quick Stop increased during the time period that Midtown-
Berryhill was prevented from selling consumer goods due to Midtown-Berryhill’s
closure caused by an arson committed at Midtown-Berryhill on or about December
18, 2002.

On or about December 19, 2002, Aery and Artis received monetary payment from
NASHAR for their roles in destroying Midtown-Berryhill’s building, equipment and
inventory. Thereafter, Aery received additional benefits such as free and reduced-
cost merchandise and car rentals from NASHAR, Diri and other persons.

On or about January 9, 2003, Artis received a second monetary payment from
NASHAR for his role in destroying Midtown-Berryhill.

Throughout the course of the illegal conduct alleged in this Superseding Bill of
Information, NASHAR knew and agreed that George Diri, Aery and other persons
would engage and did engage in intimidating and harassing tactics through the
wrongful use of actual and threatened force and violence for various purposes,
including causing the Midtown Owners to cease conducting a lawful business at
Midtown-Berryhill’s location, inflicting economic and other harms upon the
Midtown Owners, forcing the Midtown Owners to make business decisions based
on fear and coercion, depleting the assets of the Midtown Owners, reducing Midtown
Owners’ ability to purchase and otherwise receive items and services affecting
interstate and foreign commerce, increasing the revenues of One Quick Stop through
diversion of Midtown-Berryhill’s revenues to One Quick Stop, and obtaining the
Midtown Owners’ right to exercise exclusive control over the assets of their
convenience store and right to pursue a lawful business at the Berryhill location.

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COUNT ONE

 

11, The paragraphs set forth in the Introduction to this Superseding Bill of Information
are re-alleged and incorporated by reference as if fully set forth herein.

12. From on or about December 1, 2002, and continuing through February 1, 2004, in
Mecklenburg County, within the Western District of North Carolina, and elsewhere,

HAISSAM NASHAR, a/k/a “Sam Nashar”

did knowingly and intentionally combine, conspire, confederate and agree with
George Diri, Rico Aery and other persons known and unknown to the Grand Jury to
unlawfully obstruct, delay and affect commerce, as that term is defined in Title 18,
United States Code, §1951(b)(3), or the movement of articles or commodities in
commerce by extortion, as that term is defined in Title 18, United States Code,
§1951(b)(2), and to commit and threaten physical violence to other persons or
property in furtherance of a plan or purpose to obtain property from another person,
with said person’s consent, induced by wrongful use of actual or threatened force,
violence and fear.

13. In furtherance of the conspiracy and to promote its objects, NASHAR and other
persons committed and caused to be committed various overt acts during the
conspiracy within the Western District of North Carolina, and elsewhere, including
one or more of the following:

a. On or about December 18, 2002, Aery contracted with Artis to burn down
Midtown-Berryhill. Artis and another person broke out Midtown-Berryhill’s
front windows and then threw Molotov cocktails and other containers filled
with gasoline into the store. Midtown-Berryhill burned to the ground and
was closed for approximately one year. Because of the fire, NASHAR and
Diri gained control over the Midtown’s assets, to wit, its ability to operate a
lawful convenience store business, thereby eliminating competition with One
Quick Stop and assuring monthly payments in higher amounts to NASHAR.

 

b. On or about December 18, 2002, NASHAR paid Aery and Artis for their
roles in destroying the Midtown-Berryhill’s building and inventory.

On or about January 9, 2003, NASHAR made a second monetary payment

to Artis for his role in destroying Midtown-Berryhill.

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All in violation of Title 18, United States Code, §1951(a).

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COUNT TWO

14. Inor around January 1, 2004, in Mecklenburg County, within the Western District
of North Carolina, and elsewhere,

HAISSAM NASHAR, a/k/a “Sam Nashar”

having been previously convicted on or about November 13, 2003, in the United
States District Court for the Eastern District of Missouri, of a crime punishable by
imprisonment for a term exceeding one year, that is, Transportation of Counterfeited
Cigarette Tax Stamps, did knowingly and unlawfully possess a firearm in and
affecting interstate commerce, that is, 9 mm Beretta.

All in violation of Title 18, United States Code, § 922(g)(1).

GRETCHEN C. F. SHAPPERT
United States Attomey

 

 

‘ssistant United States Attorney

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